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SCANLON, HOWLEY & DOHERTY, P.C.                         Attorneys for Defendants
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By: Matthew J. Butler, Esquire, I.D. #200572            Police Officer Twerdy, and
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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANGELA VELASQUEZ,
        Plaintiff

               v.                                       CIVIL ACTION – LAW
                                                      JURY TRIAL DEMANDED
CITY OF WILKES-BARRE, POLICE                      (HONORABLE ROBERT D. MARIANI)
OFFICER TWERDY, POLICE OFFICER
JOHN DOE, UNIQUE L. JONES,
TERDELL WEES, and PENNSYLVANIA
FINANCIAL RESPONSIBILITY
ASSIGNED CLAIMS PLAN,
         Defendants                                    NO. 3:22-CV-00125-RDM


    MOTION OF DEFENDANTS CITY OF WILKES-BARRE, POLICE OFFICER
    TWERDY AND POLICE OFFICER JOHN DOE TO DISMISS PLAINTIFF’S
                           COMPLAINT

       Defendants, City of Wilkes-Barre, Police Officer Twerdy and Police Officer John Doe,

by and through their undersigned counsel, Scanlon, Howley & Doherty, P.C., hereby move,

pursuant to Federal Rule of Civil Procedure 12(b)(6), to dismiss Plaintiff’s Complaint as

follows:

   1. Plaintiff, Angela Velazquez, initiated this lawsuit on or about January 24, 2022.

       (Complaint, ECF Doc. 1).
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2. The Complaint names the City of Wilkes-Barre, Police Officer Twerdy, Police Officer

   John Doe, Unique L. Jones, Terdell Wees and Pennsylvania Financial Responsibility

   Assigned Claims Plan as the named Defendants. (ECF Doc. 1).

3. The City of Wilkes-Barre, Police Officer Twerdy and Police Officer John Doe seek

   dismissal of all claims against them as a matter of law.

4. The Complaint alleges that on February 10, 2021, Plaintiff was injured as a pedestrian

   when she was struck by a vehicle owned by Defendant Wees and operated by

   Defendant Jones that was being pursued by police officers in police pursuit including

   Defendant Officer Twerdy and Defendant Officer John Doe and other unnamed

   officers. (ECF Doc. 1, ¶¶8-11).

5. Plaintiff, Angela Velazquez, who was a bystander and not part of the police pursuit,

   claims that Police Officer Twerdy and/or Officer John Doe violated her substantive due

   process rights guaranteed by the Fourteenth Amendment of the United States

   Constitution under a 42 U.S.C. §1983 state-created danger theory by engaging in a high

   speed pursuit prior to Defendant Jones striking Ms. Velazquez. Plaintiff also asserts a

   state law negligence claim against Defendant City of Wilkes-Barre, Police Officer

   Twerdy and Police Officer John Doe for causing Plaintiff’s injuries by negligently and



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   improperly initiating and maintaining a high speed police pursuit of Defendant Jones.

   (ECF Doc. 1, Counts I and IV).

6. For the reasons set forth in Defendants’ Brief to be filed in accordance with Middle

   District of Pennsylvania Local Rule 7.5, the Complaint fails to state a claim against

   Police Officer Twerdy and Police Officer John Doe under which relief may be granted

   pursuant to a 42 U.S.C. §1983 state-created danger theory because (1) Plaintiff has not

   set forth a viable due process violation to establish any constitutional injury; and (2)

   Plaintiff’s conclusory allegations are inaccurately pled and insufficient to establish a

   state-created danger.

7. Further, Police Officer Twerdy and Police Officer John Doe are entitled to qualified

   immunity as to Plaintiff’s federal civil rights claims asserted.

8. The City of Wilkes-Barre, Police Officer Twerdy and Police Officer John Doe move

   this Honorable Court to enter an Order dismissing Count IV of the Complaint with

   prejudice pursuant to Rule 12(b)(6). Defendants further move the Court to decline to

   exercise supplemental jurisdiction over the state law claim against them present in

   Count I of the Complaint, so that the state law claim might be transferred to the Court

   of Common Pleas of Luzerne County, which is the state court of appropriate



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   jurisdiction and venue in accordance with Pennsylvania Rule of Civil Procedure

   2103(b).

WHEREFORE, Defendants, The City of Wilkes-Barre, Police Officer Twerdy and Police

Officer John Doe, respectfully request that this Honorable Court grant their Motion to

Dismiss and enter an Order in accordance with the proposed Order filed

contemporaneously herein.

                                       SCANLON, HOWLEY & DOHERTY, P.C.

                                       By:   /s/James A. Doherty, Jr.
                                             James A. Doherty, Jr.
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                                             City of Wilkes-Barre
                                             Police Officer Twerdy, and
                                             Police Officer John Doe




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                           CERTIFICATE OF COMPLIANCE

            I, James A. Doherty, Jr., Esquire, hereby certify that the filing complies with the

provisions of the Public Access Policy of the Unified Judicial System of Pennsylvania: Case

Records of the Appellate and Trial Courts that require filing confidential information and

documents differently than non-confidential information and documents.

                                             SCANLON, HOWLEY & DOHERTY, P.C.

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                                                      City of Wilkes-Barre
                                                      Police Officer Twerdy, and
                                                      Police Officer John Doe




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